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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI‘I

  JASON WOLFORD; ALISON                        Civil No. 1:23-cv-00265-LEK-WRP
  WOLFORD; ATOM KASPRZYCKI;
  HAWAII FIREARMS COALITION,

                 Plaintiffs,

        v.

  ANNE E. LOPEZ, in her official
  capacity as Attorney General of the
  State of Hawai‘i; MAUI COUNTY,

                 Defendants.


                 EXPERT DECLARATION OF SAUL CORNELL

       I, Saul Cornell, declare under penalty of perjury that the following is true

 and correct:

       1.       I have been asked by the Department of the Attorney General for the

 State of Hawai‘i to provide an expert opinion on the history of firearms regulation

 in the Anglo-American legal tradition, with a particular focus on how the Founding

 era understood the right to bear arms, as well as the understanding of the right to

 bear arms held at the time of the ratification of the Fourteenth Amendment to the

 United States Constitution. In New York State Rifle & Pistol Ass’n v. Bruen, the

 U.S. Supreme Court underscored that text, history, and tradition are the foundation



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 of modern Second Amendment jurisprudence. This modality of constitutional

 analysis requires that courts analyze history and evaluate the connections between

 modern gun laws and earlier approaches to firearms regulation in the American

 past. My declaration explores these issues in some detail. Finally, I have been

 asked to evaluate the statute at issue in this case, particularly regarding its

 connection to the tradition of firearms regulation in American legal history.

       2.     This declaration is based on my own personal knowledge, research

 and experience, and if I am called to testify as a witness, I could and would testify

 competently to the truth of the matters discussed in this declaration.

                    BACKGROUND AND QUALIFICATIONS

       3.     I am the Paul and Diane Guenther Chair in American History at

 Fordham University. The Guenther Chair is one of three endowed chairs in the

 history department at Fordham and the only one in American history. In addition to

 teaching constitutional history at Fordham University to undergraduates and

 graduate students, I teach constitutional law at Fordham Law School. I have been a

 Senior Visiting research scholar on the faculty of Yale Law School, the University

 of Connecticut Law School, and Benjamin Cardozo Law School. I have given

 invited lectures, presented papers at faculty workshops, and participated in

 conferences on the topic of the Second Amendment and the history of gun

 regulation at Yale Law School, Harvard Law School, Stanford Law School, UCLA


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 Law School, the University of Pennsylvania Law School, Columbia Law School,

 Duke Law School, Pembroke College Oxford, Robinson College, Cambridge,

 Leiden University, and McGill University. 1

       4.     My writings on the Second Amendment and gun regulation have been

 widely cited by state and federal courts, including the majority and dissenting

 opinions in Bruen. 2 My scholarship on this topic has appeared in leading law

 reviews and top peer-reviewed legal history journals. I authored the chapter on the

 right to bear arms in The Oxford Handbook of the U.S. Constitution and co-

 authored the chapter in The Cambridge History of Law in America on the Founding

 era and the Marshall Court, the period that includes the adoption of the

 Constitution and the Second Amendment. 3 Thus, my expertise not only includes

 the history of gun regulation and the right to keep and bear arms, but also extends

 to American legal and constitutional history broadly defined.

       5.     I have provided expert witness testimony in Rocky Mountain Gun

 Owners, Nonprofit Corp. v. Hickenlooper, No. 14-cv-02850 (D. Colo. 2014);



 1
   For a full curriculum vitae listing relevant invited and scholarly presentations, see
 Exhibit 1.
 2
   N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).
 3
   Saul Cornell, The Right to Bear Arms, in THE OXFORD HANDBOOK OF THE U.S.
 CONSTITUTION 739-59 (Mark Tushnet, Sanford Levinson & Mark Graber eds.,
 2015); Saul Cornell & Gerald Leonard, Chapter 15: The Consolidation of the Early
 Federal System, in 1 THE CAMBRIDGE HISTORY OF LAW IN AMERICA 518-44
 (Christopher Tomlins & Michael Grossberg eds., 2008).

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 Chambers, v. City of Boulder, No. 2018 CV 30581 (Colo. D. Ct., Boulder Cty. 2018),

 Zeleny v. Newsom, No. 14-cv-02850 (N.D. Cal. 2014), Miller v. Smith, No. 2018-cv-

 3085 (C.D. Ill. 2018); Jones v. Bonta, 3:19-cv-01226-L-AHG (S.D. Cal. 2019);

 Baird v. Bonta, No. 2:19-cv-00617 (E.D. Cal. 2019); Worth v. Harrington, No. 21-

 cv-1348 (D. Minn. 2021); Miller v. Bonta, No. 3:19-cv-01537-BEN-JLB (S.D. Cal.

 2019); Duncan v. Bonta, No. 3:17-cv-01017-BEN-JLB (S.D. Cal. 2017); Renna v.

 Bonta, No. 20-cv-2190 (S.D. Cal. 2020); Boland v. Bonta, No. 8:22-cv-1421-CJC-

 ADS (C.D. Cal. 2022); Rupp v. Bonta, No. 8:17-cv-746JLS-JDE (C.D. Cal. 2017);

 B&L Productions, Inc. v. Newsom, No. 21-cv-1718-AJB-DDL (S.D. Cal. 2021);

 Nat’l Assoc. for Gun Rts. v. Campbell, No.1:22-cv-11431-FDS (D. Mass. 2022);

 Nat’l Assoc. for Gun Rts. v. Lamont, No. 3:22-cv-0118 (D. Conn. 2022); Nastri v.

 Dykes, No. 3:23-cv-00056 (D. Conn. 2023); and Nat’l Assoc. for Gun Rts. v. Lopez,

 No. 1:22-cv-00404 (D. Haw. 2022).

            BASIS FOR OPINION AND MATERIALS CONSIDERED

       6.     The opinion I provide in this declaration is based on my review of the

 complaint filed in this lawsuit, plaintiffs’ motion for temporary restraining order

 and preliminary injunction, the laws at issue in this lawsuit, and my education,

 expertise, and research in the field of legal history. The opinions contained herein

 are made pursuant to a reasonable degree of professional certainty.




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                            SUMMARY OF OPINIONS

       7.     Understanding text, history, and tradition requires a sophisticated

 grasp of historical context. One must canvass the relevant primary sources,

 secondary literature, and jurisprudence to arrive at an understanding of the scope of

 permissible regulation consistent with the Second Amendment’s original

 understanding.

       8.     It is impossible to understand the meaning and scope of Second

 Amendment protections without understanding the way Americans in the Founding

 era approached legal questions and rights. In contrast to most modern lawyers, the

 members of the First Congress who wrote the words of the Second Amendment

 and the American people who enacted the text into law were well schooled in

 English common law ideas. Not every feature of English common law survived the

 American Revolution, but there were important continuities between English law

 and the common law in America. 4 Each of the new states, either by statute or

 judicial decision, adopted multiple aspects of the common law, focusing primarily

 on those features of English law that had been in effect in the English colonies for




 4
   William B. Stoebuck, Reception of English Common Law in the American
 Colonies, 10 WM. & MARY L. REV. 393 (1968); MD. CONST. OF 1776,
 DECLARATION OF RIGHTS, art. III, § 1; Lauren Benton & Kathryn Walker, Law for
 the Empire: The Common Law in Colonial America and the Problem of Legal
 Diversity, 89 CHI.-KENT L. REV. 937 (2014).

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 generations.5 No legal principle was more important to the common law than the

 concept of the peace.6 As one early American justice of the peace manual noted:

 “the term peace, denotes the condition of the body politic in which no person

 suffers, or has just cause to fear any injury.” 7 Blackstone, a leading source of early

 American views about English law, opined that the common law “hath ever had a

 special care and regard for the conservation of the peace; for peace is the very end

 and foundation of civil society.” 8 Any approach to the Second Amendment that

 ignores the importance of the peace to Founding era constitutional and legal

 thought is both anachronistic and profoundly distorted. 9

        9.    Early American constitutionalism built on Lockean theory, a fact

 evident in many early state constitutions. Thus, Pennsylvania, the first state to

 assert a right to bear arms, also unambiguously preceded the statement of that

 principal with an assertion closely tracking Locke: “That all men are born equally

 free and independent, and have certain natural, inherent and inalienable rights,

 5
   9 STATUTES AT LARGE OF PENNSYLVANIA 29-30 (Mitchell & Flanders eds. 1903);
 FRANCOIS XAVIER MARTIN, A COLLECTION OF STATUTES OF THE PARLIAMENT OF
 ENGLAND IN FORCE IN THE STATE OF NORTH-CAROLINA 60-61 (Newbern, 1792);
 Commonwealth v. Leach, 1 Mass. 59 (1804).
 6
   LAURA F. EDWARDS, THE PEOPLE AND THEIR PEACE: LEGAL CULTURE AND THE
 TRANSFORMATION OF INEQUALITY IN THE POST-REVOLUTIONARY SOUTH
 (University of North Carolina Press, 2009).
 7
   JOSEPH BACKUS, THE JUSTICE OF THE PEACE 23 (1816).
 8
   1 WILLIAM BLACKSTONE, COMMENTARIES *349.
 9
     EDWARDS, supra note 6.


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 amongst which are, the enjoying and defending life and liberty, acquiring,

 possessing and protecting property, and pursuing and obtaining happiness and

 safety.” 10 The right of self-defense and property rights were each viewed as

 fundamental, inalienable, and foundational in the Founding era.11 Although the

 right associated with property and self-defense could not be alienated (a term that

 was itself derived from English property law) both rights were subject to robust

 regulation.12

           10.    In Bruen, Justice Kavanaugh reiterated Heller’s 13 invocation of

 Blackstone’s authority as a guide to how early Americans understood their legal

 inheritance from England.14 In the years following the adoption of the Second

 Amendment and its state analogues, firearm regulation increased, a natural


  10
    5 FEDERAL AND STATE CONSTITUTIONS 3082 (F. Thorpe ed. 1909); PA. CONST.,
 DECL. OF RIGHTS, Art. I (1776); more generally, see WILLI PAUL ADAMS, THE
 FIRST AMERICAN CONSTITUTIONS: REPUBLICAN IDEOLOGY AND THE MAKING OF
 STATE CONSTITUTIONS IN THE REVOLUTIONARY ERA (1980).
 11
   Jud Campbell, Judicial Review and the Enumeration of Rights, 15 GEO. J. L. &
 PUB. POL’Y 568 (2017).
 12
   Joseph Postell, Regulation During the American Founding: Achieving
 Liberalism and Republicanism, 5 AM. POL. THOUGHT 80 (2016) (examining the
 importance of regulation to Founding political and constitutional thought).
 13
       District of Columbia v. Heller, 554 U.S. 570 (2008).
 14
    On Founding-era conceptions of liberty, see JOHN J. ZUBLY, THE LAW OF
 LIBERTY (1775). The modern terminology to describe this concept is “ordered
 liberty.” See Palko v. Connecticut, 302 U.S. 319, 325 (1937).

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 response to new challenges posed by changes in technology and society. As had

 been true in England, the newly independent states exercised their broad police

 powers to address longstanding issues and any novel problems created by firearms

 in American society.

       11.    American law, including the regulation of firearms, sought to protect

 ordered liberty. As one patriotic revolutionary era orator observed, almost a decade

 after the adoption of the Constitution: “True liberty consists, not in having no

 government, not in a destitution of all law, but in our having an equal voice in the

 formation and execution of the laws, according as they effect [sic] our persons and

 property.” 15 By allowing individuals to participate in politics and enact laws aimed

 at promoting the health, safety, and well-being of the people, liberty flourished.

       12.    The members of the Founding generation lived in a pre-modern rural

 society. There were no modern style police forces to keep the peace. Even after the

 creation of modern style police forces in the period before the Civil War, firearms

 were rarely carried routinely in public outside of the South and frontier regions.

 Indeed, none of the nation’s early police forces in Boston, New York, and

 Philadelphia issued firearms to those charged with enforcing the peace and

 protecting society from criminals.


 15
   Joseph Russell, An Oration; Pronounced in Princeton, Massachusetts, on the
 Anniversary of American Independence, July 4, 1799, at 7 (July 4, 1799) (text
 available in the Evans Early American Imprint Collection) (emphasis in original).

                                           8
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         13.    Few of the institutions modern Americans take for granted existed in

 Founding era America. Outside of major cities there were few hospitals and even

 fewer museums, and these were private institutions that served the public. There

 was no modern-style mass transportation. All forms of transport were privately

 owned.

         14.    Although many public spaces existed in early America, modern style

 parks did not emerge until the nineteenth century. The development of such spaces

 in period before the Civil War was itself a response to the greater urbanization of

 the nation and a perception that America needed to create havens of tranquility to

 offset the negative impacts of the market revolution. From their inception, these

 new public spaces prohibited firearms.


 I.     THE HISTORICAL INQUIRY REQUIRED BY BRUEN, MCDONALD, AND
        HELLER: RIGHTS AND REGULATION
         15.    The United States Supreme Court’s decisions in Heller, McDonald16,

 and Bruen have directed courts to look to text, history, and tradition when

 evaluating the scope of permissible firearms regulation under the Second

 Amendment. In another case involving historical determinations, Justice Thomas,

 the author of the majority opinion in Bruen, has noted that judges must avoid




 16
      McDonald v. City of Chicago, 561 U.S. 742 (2010).

                                            9
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  approaching history, text, and tradition with an “ahistorical literalism.” 17 Legal

  texts must not be read in a decontextualized fashion detached from the web of

  historical meaning that made them comprehensible to Americans living in the past.

  Instead, understanding the public meaning of constitutional texts requires a solid

  grasp of the relevant historical contexts. 18

        16.    Moreover, as Bruen makes clear, history neither imposes “a

  regulatory straitjacket nor a regulatory blank check.” 19 The Court acknowledged

  that when novel problems created by firearms are at issue the analysis must reflect

  this fact: “other cases implicating unprecedented societal concerns or dramatic

  technological changes may require a more nuanced approach.” Bruen differentiates

  between cases in which contested regulations are responses to long standing

  problems and situations in which modern regulations address novel problems with

  no clear historical analogues from the Founding era or the era of the Fourteenth

  Amendment.

        17.    In the years between Heller and Bruen, historical scholarship has

  expanded our understanding of the history of arms regulation in the Anglo-



  17
     Franchise Tax Board of California v. Hyatt, 139 S. Ct. 1485, 1498 (2019)
  (Thomas, J.) (criticizing “ahistorical literalism”).
  18
     See Jonathan Gienapp, Historicism and Holism: Failures of Originalist
  Translation, 84 FORDHAM L. REV. 935 (2015).
  19
     Bruen, 142 S. Ct. at 2133.

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  American legal tradition, but much more work needs to be done to fill out this

  picture.20 Indeed, such research is still ongoing: new materials continue to emerge;

  and in the year since Bruen was decided, additional evidence about the history of

  regulation has surfaced and new scholarship interpreting it has appeared in leading

  law reviews and other scholarly venues.21

        18.    Justice Kavanaugh underscored a key holding of Heller in his Bruen

  concurrence: “Like most rights, the right secured by the Second Amendment is not

  unlimited. From Blackstone through the 19th-century cases, commentators and

  courts routinely explained that the right was not a right to keep and carry any

  weapon whatsoever in any manner whatsoever and for whatever purpose.”

  Crucially, the Court further noted that “we do think that Heller and McDonald

  point toward at least two metrics: how and why the regulations burden a law-

  abiding citizen’s right to armed self-defense.” 22

        19.    The key insight derived from taking the Founding era conception of

  rights seriously and applying the original understanding of the Founding era’s



  20
     Eric M. Ruben & Darrell A. H. Miller, Preface: The Second Generation of
  Second Amendment Law & Policy, 80 L. & CONTEMP. PROBS. 1 (2017).
  21
     Symposium—The 2nd Amendment at the Supreme Court: “700 Years of History”
  and the Modern Effects of Guns in Public, 55 U.C. DAVIS L. REV. 2495 (2022);
  NEW HISTORIES OF GUN RIGHTS AND REGULATION: ESSAYS ON THE PLACE OF GUNS
  IN AMERICAN LAW AND SOCIETY (Joseph Blocher, Jacob D. Charles & Darrell A.H.
  Miller eds., forthcoming 2023).
  22
     Bruen, 142 S. Ct. at 2132-33.

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  conception of liberty is the recognition that regulation and liberty are both hard

  wired into the Amendment’s text. 23 The inclusion of rights guarantees in Founding

  era constitutional texts was not meant to place them beyond the scope of legislative

  control. “The point of retaining natural rights,” originalist scholar Jud Campbell

  reminds us “was not to make certain aspects of natural liberty immune from

  governmental regulation. Rather, retained natural rights were aspects of natural

  liberty that could be restricted only with just cause and only with consent of the

  body politic.”24

        20.    Rather than limiting rights, regulation was the essential means of

  preserving rights, including self-defense.25 In fact, without robust regulation of

  arms, it would have been impossible to implement the Second Amendment and its


  23
     See generally QUENTIN SKINNER, LIBERTY BEFORE LIBERALISM (1998)
  (examining neo-Roman theories of free citizens and how they impacted the
  development of political theory in England); THE NATURE OF RIGHTS AT THE
  AMERICAN FOUNDING AND BEYOND (Barry Alan Shain ed., 2007) (discussing how
  the Founding generation approached rights, including the republican model of
  protecting rights by representation); Dan Edelstein, Early-Modern Rights Regimes:
  A Genealogy of Revolutionary Rights, 3 CRITICAL ANALYSIS L. 221, 233-34 (2016).
  See generally GERALD LEONARD & SAUL CORNELL, THE PARTISAN REPUBLIC:
  DEMOCRACY, EXCLUSION, AND THE FALL OF THE FOUNDERS’ CONSTITUTION, 1780s-
  1830s, at 2 (2019); Victoria Kahn, Early Modern Rights Talk, 13 YALE J.L. &
  HUMAN. 391 (2001) (discussing how the early modern language of rights
  incorporated aspects of natural rights and other philosophical traditions).
  24
     Jud Campbell, The Invention of First Amendment Federalism, 97 TEX. L. REV.
  517, 527 (2019) (emphasis in original). See generally Saul Cornell, Half Cocked:
  The Persistence of Anachronism and Presentism in the Academic Debate Over the
  Second Amendment, 106 J. CRIM. L. & CRIMINOLOGY 203, 206 (2016).
  25
     See Jud Campbell, Republicanism and Natural Rights at the Founding, 32
  CONST. COMMENT. 85 (2017).

                                            12
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  state analogues. Mustering the militia required keeping track of who had weapons

  and included the authority to inspect those weapons and fine individuals who failed

  to store them safely and keep them in good working order.26 The individual states

  also imposed loyalty oaths, disarming those who refused to take such oaths. No

  state imposed a similar oath as pre-requisite to the exercise of First Amendment-

  type liberties. Thus, some forms of prior restraint, impermissible in the case of

  expressive freedoms protected by the First Amendment or comparable state

  provisions, were understood by the Founding generation to be perfectly consistent

  with the constitutional right to keep and bear arms. 27

        21.    “Constitutional rights,” Justice Scalia wrote in Heller, “are enshrined

  with the scope they were thought to have when the people adopted them.” 28 The

  most basic right of all in Founding era constitutionalism was the right of the people

  to regulate their own internal police. Although modern lawyers and jurists are

  accustomed to thinking of state police power, the Founding generation viewed this

  concept as a right, not a power. 29 The first state constitutions clearly articulated


  26
     H. RICHARD UVILLER & WILLIAM G. MERKEL, THE MILITIA AND THE RIGHT TO
  ARMS, OR, HOW THE SECOND AMENDMENT FELL SILENT 150 (2002).
  27
     Saul Cornell, Commonplace or Anachronism: The Standard Model, the Second
  Amendment, and the Problem of History in Contemporary Constitutional Theory
  16 CONST. COMMENT. 988 (1999).
  28
     Heller, 554 U.S. at 634-35; Christopher Tomlins, Necessities of State: Police,
  Sovereignty, and the Constitution, 20 J. POL’Y HIST. 47 (2008).
  29
     On the transformation of the Founding era’s ideas about a “police right” into the
  more familiar concept of “police power,” see generally Aaron T. Knapp, The

                                             13
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  such a right — including it alongside more familiar rights such as the right to bear

  arms. 30 Pennsylvania’s Constitution framed this estimable right succinctly: “That

  the people of this State have the sole, exclusive and inherent right of governing and

  regulating the internal police of the same.” Although Justice Scalia’s observation

  on the scope of the right to bear arms has figured prominently in recent Second

  Amendment jurisprudence, the equally important right of the people to regulate

  their internal police has not been similarly acknowledged by many lower courts.

  This asymmetry is not only inconsistent with Founding era conceptions of law and

  constitutionalism, but also not consistent with Heller, a point that Chief Justice

  Roberts and Justice Kavanaugh have each asserted in their interpretations of Heller

  and subsequent jurisprudence. In short, an asymmetrical approach to gun rights and

  regulation, favoring the former over the latter, is precluded by Heller and not

  consistent with Bruen’s focus on text, history, and tradition. The history of gun

  regulation in the decades after the right to bear arms was codified in both the first

  state constitutions and the federal bill of rights underscores this key point. The




  Judicialization of Police, 2 CRITICAL ANALYSIS L. 64 (2015); Christopher Tomlins,
  Necessities of State: Police, Sovereignty, and the Constitution, 20 J. POL’Y HIST. 47
  (2008).
  30
     PA. CONST. OF 1776, ch. I, art. III; MD. DECLARATION OF RIGHTS, art. IV (1776);
  N.C. DECLARATION OF RIGHTS, art. I, § 3 (1776); VT. DECLARATION OF RIGHTS,
  art. V (1777).


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  right to bear arms was seldom interpreted (outside of a few outlier cases in the

  South) as precluding robust regulation of arms and gun powder.


  II.   FROM MUSKETS TO PISTOLS: CHANGE AND CONTINUITY IN EARLY
        AMERICAN FIREARMS REGULATION

         22.   Guns have been regulated from the dawn of American history. 31 At the

  time Heller was decided, there was little scholarship on the history of gun

  regulation and a paucity of quality scholarship on early American gun culture.32

  Fortunately, a burgeoning body of scholarship has illuminated both topics,

  deepening scholarly understanding of the relevant contexts needed to implement

  Bruen’s framework. 33 Indeed, in the year following Bruen new sources have come

  to light and new scholarship as well.34

         23.   The common law that Americans inherited from England always

  acknowledged that the right of self-defense was not unlimited but existed within a

  well-delineated jurisprudential framework. The entire body of the common law

  was designed to preserve the peace, and the right of self-defense existed within this


  31
     Robert J. Spitzer, Gun Law History in the United States and Second Amendment
  Rights, 80 L. & CONTEMP. PROBS. 55 (2017).
  32
     Id.
  33
     Ruben & Miller, supra note 20, at 1.
  34
     See Atkinson v. Garland, 70 F.4th 1018, 1036 (7th Cir. 2023) (Wood, J.,
  dissenting) (citing new scholarship by Andrew Willinger, The Territories Under
  Text, History, and Tradition, 101 WASH. U. L. REV. (forthcoming 2023) (manuscript
  at 27)).


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  larger framework.35 Statutory law, both in England and America, functioned to

  further secure the peace and public safety. Given these indisputable facts, the

  Supreme Court correctly noted, the right to keep and bear arms was never

  understood to prevent government from enacting a broad range of regulations to

  promote the peace and maintain public safety. 36

        24.    Recent historical research has illuminated the nature of Founding era

  gun culture and the history of regulation. There was no analogue to the types of

  gun violence that plague modern America. The nature of firearms technology and

  early American society militated against guns as the preferred tool for most forms

  of interpersonal violence.37

        25.    Weapons in the Founding era were muzzle loaded guns that were not

  particularly accurate and took a long time to load. The black powder used in these

  firearms was corrosive and attracted moisture like a sponge: two facts that

  militated against storing weapons loaded. Given the state of firearms technology in



  35
     Saul Cornell, The Right to Keep and Carry Arms in Anglo-American Law:
  Preserving Liberty and Keeping the Peace, 80 L. & CONTEMP. PROBS. 11 (2017).
  36
     McDonald, 561 U.S. at 785 (plurality opinion) (noting that “state and local
  experimentation with reasonable firearms regulations will continue under the
  Second Amendment” (cleaned up)).
  37
    Kevin M. Sweeney, Firearms Ownership and Militias in Seventeenth and
  Eighteenth Century England and America, in A RIGHT TO BEAR ARMS?: THE
  CONTESTED ROLE OF HISTORY IN CONTEMPORARY DEBATES ON THE SECOND
  AMENDMENT (Jennifer Tucker et al. eds., 2019).


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  the Founding era, it is not surprising that recent scholarship has demonstrated that

  there was not a widespread gun violence problem in the era of the Second

  Amendment. 38

          26.    History is marked by change and the history of guns is no exception.

  Changes in firearms technology and American society in the nineteenth century led

  to the emergence of America’s first gun violence problems. The response of states

  to the emergence of new firearms that threatened the peace was a plethora of new

  laws. The first notable expansion of regulation occurred during the period after the

  War of 1812, when cheap, reliable, and easily concealable pistols were produced

  for the first time in American history. More than 90% of the firearms in circulation

  in the Founding era were long guns, so pistols were not a serious problem for the

  Founders. 39

          27.    In short, when addressing changes in technology, consumer behavior,

  and faced with novel threats to public safety, states used their ample authority

  under the police power to enact laws to address these problems. Apart from a few




  38
    Randolph Roth, Transcript: Why is the United States the Most Homicidal in the
  Affluent World, NATIONAL INSTITUTE OF JUSTICE (Dec. 1, 2013),
  https://nij.ojp.gov/media/video/24061#transcript--0.
  39
       Sweeney supra note 37.


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  outlier cases in the South, courts upheld such limits on the unfettered exercise of a

  right to keep and bear arms. 40

        28.    Weapons that posed a particular danger were regulated and, in some

  cases, prohibited. Responding in this fashion was entirely consistent with

  Founding-era conceptions of ordered liberty and the Second Amendment. 41

        29.    Anglo-American law treated unusually dangerous weapons as

  legitimate targets for strong regulation. Blackstone and Hawkins, two of the most

  influential English legal writers consulted by the Founding generation, described

  these types of limits in slightly different terms. The two different formulations

  related to weapons described as “dangerous and unusual” and more typically as

  “dangerous or unusual.” Although some modern commentary on the Second

  Amendment have misread the Blackstonian principle as asserting that weapons

  must be both dangerous and unusual to justify government regulation, the term

  dangerous and unusual was not conjunctive, but a Latinate construction familiar to

  early American lawyers, hendiadys. Thus, the best translation of the term in

  modern parlance would be “unusually dangerous.” Indeed, this reading is the only



  40
    On southern gun rights exceptionalism, see Eric M. Ruben & Saul Cornell,
  Firearms Regionalism and Public Carry: Placing Southern Antebellum Case Law
  in Context, 125 YALE L.J. F. 121, 128 (2015).
   Saul Cornell & Nathan DeDino, A Well Regulated Right: The Early American
  41

  Origins of Gun Control, 73 FORDHAM L. REV. 487 (2004).


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  parsing of the texts of Blackstone and Hawkins that reconciles the two author’s

  treatment of the scope of government authority to regulate arms. 42

        30.    As Justice Scalia noted in Heller, and Justice Thomas reiterated in

  Bruen, the original Second Amendment was a result of a form of interest balancing

  undertaken by the people themselves in framing the federal constitution and the

  first ten amendments. Thus, from its outset the Second Amendment recognizes

  both the right to keep and bear arms and the right of the people to regulate arms to

  promote the goals of preserving a free state. An exclusive focus on rights and a

  disparagement of regulation is thus antithetical to the plain meaning of the text of

  the Second Amendment. Although rights and regulation are often cast as

  antithetical in the modern gun debate, the Founding generation saw the two goals

  as complementary. Comparing the language of the Constitution’s first two

  amendments and their different structures and word choice makes this point crystal

  clear. The First Amendment prohibits “abridging” the rights it protects. In standard

  American English in the Founding era, to “abridge” meant to “reduce.” Thus, the

  First Amendment prohibits the diminishment of the rights it protects. The Second

  Amendment’s language employs a very different term, requiring that the right to


  42
    This phrase was an example of an archaic grammatical and rhetorical form
  hendiadys; see Samuel Bray, ‘Necessary AND Proper’ and ‘Cruel AND Unusual’:
  Hendiadys in the Constitution, 102 VA. L. REV. 687 (2016). Thus, the term was not
  conjunctive and is best rendered as “unusually dangerous.”


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  bear arms not be “infringed.” In Founding era American English, the word

  “infringement” meant to “violate” or “destroy.” Richard Burns, in his influential

  eighteenth-century legal dictionary, illustrated the concept of infringement by

  discussing the differences between the anarchic liberty associated with the state of

  nature and the well-regulated liberty associated with civil society and the rule of

  law. Liberty, according to Burns, was not identical to that “wild and savage liberty”

  of the state of nature. True liberty, by contrast, only existed when individuals

  created civil society and enacted laws and regulations that promoted ordered

  liberty. Regulation was therefore not understood to be an “infringement” of the

  right to bear arms, but rather the necessary foundation for the proper exercise of

  that right as required by the concept of ordered liberty. In short, when read with

  the Founding era’s interpretive assumptions and legal definitions in mind, the text

  of the two Amendments was seen to set up very different frameworks for thinking

  about the rights they protect. Members of the Founding generation would have

  understood that legislatures could regulate the conduct protected by the Second

  Amendment and comparable state arms bearing provisions as long such regulations

  did not negate the underlying right. In fact, without robust regulation of arms, it

  would have been impossible to implement the Second Amendment and its state

  analogues.43 In keeping with the clear public meaning of the Second Amendment’s

  43
       UVILLER & MERKEL, supra note 26.

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  text and comparable state provisions, early American governments enacted laws to

  preserve the rights of law-abiding citizens to keep and bear arms and promote the

  equally vital goal of public safety.

  III. THE POLICE POWER AND FIREARMS REGULATION, 1776-1868

        31.    The 1776 Pennsylvania Constitution, the first revolutionary

  constitution to assert a right to bear arms, preceded the assertion of this right by

  affirming a more basic rights claim: “That the people of this State have the sole,

  exclusive and inherent right of governing and regulating the internal police of the

  same.” 44 The phrase “internal police” had already become common, particularly in

  laws establishing towns and defining the scope of their legislative authority. 45 By

  the early nineteenth century, the term “police” was a fixture in American law. 46

  Thus, an 1832 American encyclopedia confidently asserted that police, “in the



  44
     PA. CONST. OF 1776, Ch. I, art iii.
  45
     For other examples of constitutional language similar to Pennsylvania’s
  provision, see N.C. CONST. OF 1776, DECLARATION OF RIGHTS, art. II; VT. CONST.
  OF 1777, DECLARATION OF RIGHTS, art. IV. For other examples of this usage, see
  An Act Incorporating the residents residing within limits therein mentioned, in 2
  NEW YORK LAWS 158 (1785) (establishing the town of Hudson, NY); An Act to
  incorporate the Town of Marietta, in LAWS PASSED IN THE TERRITORY NORTHWEST
  OF THE RIVER OHIO 29 (1791). For later examples, see 1 STATUTES OF THE STATE
  OF NEW JERSEY 561 (rev. ed. 1847); 1 SUPPLEMENTS TO THE REVISED STATUTES:
  GENERAL LAWS OF THE COMMONWEALTH OF MASSACHUSETTS; PASSED
  SUBSEQUENTLY TO THE REVISED STATUTES: 1836 TO 1849, INCLUSIVE 413 (Theron
  Metcalf & Luther S. Cushing, eds. 1849).
  46
     ERNST FREUND, THE POLICE POWER: PUBLIC POLICY AND CONSTITUTIONAL
  RIGHTS 2 n.2 (1904).

                                            21
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  common acceptation of the word, in the U. States and England, is applied to the

  municipal rules, institutions and officers provided for maintaining order,

  cleanliness &c.”47 The Founding era’s conception of a basic police right located in

  legislatures was transmuted during the Marshall Court’s era into the judicial

  doctrine of the police power and would become a fixture in American law.

        32.    The power to regulate firearms and gunpowder has always been

  central to the police power and historically was shared among states, local

  municipalities, and the federal government when it was legislating conduct on

  federal land and in buildings.48 The adoption of the Constitution and the Bill of

  Rights did not deprive states of their police powers. Indeed, if it had, the

  Constitution would not have been ratified and there would be no Second

  Amendment today. Ratification was only possible because Federalists offered

  Anti-Federalists strong assurances that nothing about the new government

  threatened the traditional scope of the individual state’s police power authority,

  including the authority to regulate guns and gun powder.49




  47
     10 ENCYCLOPEDIA AMERICANA 214 (Francis Lieber ed. 1849).
  48
     Harry N. Scheiber, State Police Power, in 4 ENCYCLOPEDIA OF THE AMERICAN
  CONSTITUTION 1744 (Leonard W. Levy et al. eds., 1986).
  49
     Saul Cornell, THE OTHER FOUNDERS: ANTIFEDERALISM AND THE DISSENTING
  TRADITION IN AMERICA, 1788-1828 (1999).

                                            22
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        33.    Federalists and Anti-Federalists bitterly disagreed over many legal

  issues, but this one point of accord was incontrovertible. Brutus, a leading Anti-

  Federalist, emphatically declared that: “[I]t ought to be left to the state

  governments to provide for the protection and defence [sic] of the citizen against

  the hand of private violence, and the wrongs done or attempted by individuals to

  each other . . . .” 50 Federalist Tench Coxe concurred, asserting that: “[t]he states

  will regulate and administer the criminal law, exclusively of Congress.” States, he

  assured the American people during ratification, would continue to legislate on all

  matters related to the police power, “such as unlicensed public houses, nuisances,

  and many other things of the like nature.” 51 State police power authority was at its

  pinnacle in matters relating to guns or gun powder. 52

        34.    Founding-era constitutions treated the right of the people to regulate

  their internal police separately from the equally important right of the people to

  bear arms. These two rights were separate in the Founding era but were mutually

  reinforcing: both rights were exercised in a manner that furthered the goal of

  ordered liberty. Reconstruction-era constitutions adopted a new textual formulation



  50
     Brutus, Essays of Brutus VII, reprinted in 2 THE COMPLETE ANTIFEDERALIST
  358, 400-05 (Herbert J. Storing ed., 1981).
  51
     Tench Coxe, A Freeman, PA. GAZETTE (Jan. 23, 1788), reprinted in FRIENDS OF
  THE CONSTITUTION: WRITINGS OF THE “OTHER” FEDERALISTS 82 (Colleen A.
  Sheehan & Gary L. McDowell eds., 1998).
  52
     Cornell, supra note 35.

                                             23
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  of the connection between these two formerly distinct rights, fusing the two

  together as one single constitutional principle. This change reflected two profound

  transformations in American politics and law between 1776 and 1868. First, the

  judicial concept of police power gradually usurped the older notion of a police

  right grounded in the idea of popular sovereignty. As a result, state constitutions no

  longer included free standing affirmations of a police right. Secondly, the

  constitutional “mischief to be remedied” that arms bearing provisions addressed

  had changed as well. Constitution writers in the era of the American Revolution

  feared powerful standing armies and sought to entrench civilian control of the

  military. By contrast, constitution writers in the era of the Fourteenth Amendment

  were no longer haunted by the specter of tyrannical Stuart Kings using their

  standing army to oppress American colonists. In place of these ancient fears, a new

  apprehension stalked Americans: the proliferation of unusually dangerous weapons

  and the societal harms they caused. The Reconstruction-era constitutional solution

  cast aside the eighteenth-century language that was steeped in fears of standing

  armies and substituted in its place new language affirming the state’s police power

  authority to regulate arms, particularly in public.53




  53
    Saul Cornell, The Right to Regulate Arms in the Era of the Fourteenth
  Amendment: The Emergence of Good Cause Permit Schemes in Post-Civil War
  America, 55 U.C. DAVIS L. REV. 65 (2022).

                                            24
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       Pennsylvania Constitution (1776)               Texas Constitution (1868)
   “That the people of this State have the      “Every person shall have the right to
   sole, exclusive and inherent right of        keep and bear arms, in the lawful
   governing and regulating the internal        defence of himself or the State, under
   police of the same.”                         such regulations as the Legislature may
                                                prescribe.55
   “That the people have a right to bear
   arms for the defence of themselves and
   the state; and as standing armies in the
   time of peace are dangerous to liberty,
   they ought not to be kept up; And that
   the military should be kept under strict
   subordination to, and governed by, the
   civil power.”54


       Private Property and the Founding Era’s Default Rule about Arms

           35.   There was no right to carry firearms onto the property of others in the

  Founding era. Indeed, had such a right existed, it would have undermined the

  peace, not preserved it. The castle doctrine, which included one’s domicile and

  curtilage, meant individuals could respond with deadly force to perceived threats.56

  54
       PA. CONST. OF 1776, amend. III, XIII.
  55
    TEX. CONST. OF 1868, Art. I, § 13. For similarly expansive constitutional
  provisions enacted after the Civil War, see infra Table One.
  56
    On the history of stand your ground, see Richard Maxwell Brown, NO DUTY TO
  RETREAT: VIOLENCE AND VALUES IN AMERICAN HISTORY AND SOCIETY (1994).

                                               25
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         36.   Anglo-American constitutionalism was founded on the Lockean

  trinity of life, liberty, and property. Property rights in the Founding era were not

  only highly esteemed, but English common law doctrine gave individuals broad

  authority over their lands and powerful tools to enforce their claims against those

  who committed trespass. It would have been unthinkable to members of the

  Founding generation that any person could enter another’s land armed, without

  permission or appropriate legal authority. The limits on peace officers underscore

  this fact. Entry on private property by a constable, sheriff, or justice of the peace

  without proper legal authority was a trespass. Moreover, it is important to note that

  peace officers in the Founding era were not typically armed with firearms so even

  when serving legal process, justices of the peace, sheriffs, and constables did not

  typically enter private property with firearms. The most notable exceptions to this

  principle were situations where one was in pursuit of a felon or a dangerous

  animal. 57

         37.   The default rule enacted by Hawai‘i simply restores property to its

  rightful place alongside life and liberty in the Founding era’s Lockean vision of



  57
    Stuart Bruchey, The Impact of Concern for the Security of Property Rights on
  the Legal System of the Early American Republic, 1980 WIS. L. REV. 1135, 1136;
  James W. Ely, Jr., THE GUARDIAN OF EVERY OTHER RIGHT: A CONSTITUTIONAL
  HISTORY OF PROPERTY RIGHTS 30-32 (3d ed. 2008); William J. Novak, Common
  Regulation: Legal Origins of State Power in America, 45 HASTINGS L.J. 1061,
  1081-83 (1994).


                                            26
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  liberty. Blackstone’s discussion of the centrality of property to English common

  law is apposite and offers a foundation for understanding why a restoration of the

  default rule prohibiting entering another’s lands while armed is consistent with

  Founding era constitutionalism.

      The third absolute right, inherent in every Englishman, is that of
      property: which consists in the free use, enjoyment, and disposal of all
      his acquisitions, without any control or diminution, save only by the
      laws of the land. . . . The laws of England are therefore, in point of honor
      and justice, extremely watchful in ascertaining and protecting this
      right.58
  The practical implication of this robust view of property rights was

  considerable. In a celebrated English case where the Lord Chief Justice of the

  King’s Bench summarized the implications of this view for English law: “our

  law holds the property of every man so sacred, that no man can set his foot

  upon his neighbour’s close without his leave; if he does he is a trespasser,

  though he does no damage at all; if he will tread upon his neighbor’s ground,

  he must justify it by law.” 59

           38.   The default rule prohibiting firearms on private property adopted by

  Hawai‘i simply restores the legal rule in place at the Founding, a rule rooted in

  English common law. The prohibition on entering another’s land without



  58
       1 WILLIAM BLACKSTONE, COMMENTARIES 134-35.
  59
       Entick v. Carrington, 95 Eng. Rep. 807 (K.B. 1765).


                                            27
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  permission was part of the background assumptions against which the right to keep

  and bear arms would have been understood by those who wrote it and enacted the

  Second Amendment into law.

         39.       Blackstone’s extensive discussion of the law of trespass elaborated

  this understanding and was well known to members of the Founding generation,

  including those who wrote and enacted the Second Amendment and similar state

  analogues. Judge Zephaniah Swift, author of one of the first legal treatises written

  after the adoption of the Second Amendment, summarized this Blackstonian

  consensus when he wrote: “every unwarrantable entry upon the lands and

  tenements of another, without his consent, is deemed a breaking of his close, and is

  an injury.” 60

         40.       Pennsylvania and New Jersey each enacted laws drawing on this

  tradition to pass broad restrictions on traveling armed onto private lands without

  permission:


       Be it enacted, That if any person or persons shall presume, at any time
       after the publication of this act, to carry any gun, or hunt on any
       enclosed or improved lands of any of the inhabitants of this province,
       other than his own, unless he shall have license or permission from the
       owner of such lands, or shall presume to fire a gun on or near any of the
       king’s highways, and shall be thereof convicted, either upon view of any
       Justice of the Peace within this province, or by the oath or affirmation of

  60
    2 ZEPHANIAH SWIFT, A SYSTEM OF THE LAWS OF THE STATE OF CONNECTICUT 74
  (1795).


                                              28
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       any one or more witnesses, before any Justice of the Peace, he shall, for
       every such offence, forfeit the sum of forty shillings.61

        41.    The restoration of the common law default rule by Hawai‘i therefore

  fits squarely within the long tradition of the regulation of arms under Anglo-

  American law.

        The Historical Meaning of Sensitive Places and Limits on Arms

        42.    The sensitive places doctrine described in Heller derives from well-

  established principles in Anglo-American law, including the Statute of

  Northampton (and its many analogs) and the common law itself. The sensitive

  places doctrine did not, as some gun rights advocates have erroneously suggested,

  depend on the fact that government could provide comprehensive security, such as

  modern court houses which have metal detectors and armed guards.62 Founding era

  court houses did not enjoy anything remotely analogous to these types of security

  measures. The English tradition of bans on arms in fairs and markets singled out

  these locations because they were sites of commerce, entertainment, and politics.



   1 LAWS OF THE COMMONWEALTH OF PENNSYLVANIA, FROM THE FOURTEENTH
  61

  DAY OF OCTOBER, ONE THOUSAND SEVEN HUNDRED, TO THE TWENTIETH DAY OF
  MARCH, ONE THOUSAND EIGHT HUNDRED AND TEN 229 (1810); CHARLES
  NETTLETON, LAWS OF THE STATE OF NEW-JERSEY 26 (1821).
  62
     David B. Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine:
  Locational Limits on the Right to Bear Arms, 13 CHARLESTON L. REV. 203, 290
  (2018).


                                           29
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  Indeed, it was the very fact that individuals congregated in large numbers and

  moved about freely, engaging in productive economic, cultural, and political

  activities that was the reason arms were prohibited from these locations.63

        43.    An early American justices of the peace manual captured the common

  law’s understanding of “sensitive places” when it reminded readers that constables,

  sheriffs, and other peace officers had the authority to arrest those who “shall go or

  ride armed with unusual and offensive weapons . . . among any great Concourse of

  the People.”64

        44.    A good illustration of how early American governments understood

  sensitive places is provided by an early Louisiana law, prohibiting “any person to

  enter into a public ball-room with any cane, stick, sword or any other weapon” and

  requiring weapons be checked before entering a ball room. New Mexico enacted a

  similar statute. The law prohibited “any person to enter said Ball or room adjoining

  said ball where Liquors are sold, or to remain in said balls or Fandangos with

  firearms or other deadly weapons, whether they be shown or concealed upon their




  63
    JEROME BAYON, GENERAL DIGEST OF THE ORDINANCES AND RESOLUTIONS OF
  THE CORPORATION OF NEW ORLEANS 371 (1831) (art. 1).

  64
    J. DAVIS, THE OFFICE AND AUTHORITY OF A JUSTICE OF THE PEACE 13 (Newbern,
  James Davis 1774)

                                           30
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  persons.” 65 In both cases the laws prohibited arms in places where people gathered

  in large numbers and engaged in forms of recreation.

        45.    Public universities in the early republic offer another good example

  of the potential scope of permissible firearms regulations consistent with the notion

  of sensitive places. Bans on guns on college campuses were another example of the

  strict regulation of arms in places where large numbers of people congregated. The

  University of Georgia, one of the nation’s oldest public institutions of higher

  education, passed a sweeping prohibition of guns on its campus: “[N]o student

  shall be allowed to keep any gun, pistol, Dagger, Dirk[,] sword cane[,] or any other

  offensive weapon in College or elsewhere, neither shall they or either of them be

  allowed to be possessed of the same out of the college in any case whatsoever.”66

  The University of North Carolina, likewise, enacted a total prohibition on

  possessing firearms. The law provided: “No Student shall keep a dog, or firearms,

  or gunpowder. He shall not carry, keep, or own at the College, a sword, dirk,


  65
     1852 N.M. Laws 67, § 3. Although Bruen suggested that evidence from the
  territories was not probative, subsequent research published after the decision has
  established that territories were in fact the only locations in nineteenth century
  America in which the Second Amendment applied prior to the Fourteenth
  Amendment, a fact that has gained judicial notice in the litigation spawned by
  Bruen, see Atkinson, 70 F.4th at 1036 (Wood, J., dissenting) (“Taking the Court at
  its word, new historical research should be welcome . . . .”)
  66
    The Minutes of the Senate Academicus, 1799-1842, (Univ. Ga. Librs. 2008),
  https://tinyurl.com/3nxp4uwv.


                                           31
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  sword-cane, or any deadly weapon.”67      The regulations enacted by the University

  of Virginia are particularly telling in this regard. In 1819, Thomas Jefferson helped

  establish the state-supported University of Virginia. University of Virginia, About

  the University, https://www.virginia.edu/aboutuva (last accessed Nov. 4, 2022).

  While both Jefferson and James Madison were serving on the six-person

  University of Virginia Board of Visitors—the decision-making body for the

  university—the Board took an exceedingly strict view of guns on the Virginia

  campus, resolving: “No Student shall, within the precincts of the University,

  introduce, keep or use any spirituous or vinous liquors, keep or use weapons or

  arms of any kind, or gunpowder, keep a servant, horse or dog, appear in school

  with a stick, or any weapon.”68

        Reconstruction: Constitutional Continuity and Social Change




  67
    Acts of the General Assembly and Ordinances of the Trustees for the
  Organization and Government of the University of North-Carolina 15 (Raleigh,
  Off. of the Raleigh Reg. 1838), https://tinyurl.com/2p8cte3h. In 1859, the
  University of North Carolina expanded the reach of its prohibition on carrying
  deadly weapons, applying it not just to the college, but also “within the village of
  Chapel Hill.” Acts of the General Assembly and Ordinances of the Trustees for the
  Organization and Government of the University of North Carolina 31 (James M.
  Henderson 1859), https://docsouth.unc.edu/true/unc/unc.html.
  68
    Meeting Minutes of the University Board of Visitors, Oct. 4, 1824,
  https://tinyurl.com/543s44xk; see also Laws & Regulations of the College of
  William & Mary 19 (1830), https://tinyurl.com/2p93s7hd


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        46.       During the Reconstruction era, many states enacted a variety of

  laws building on the history of sensitive place restrictions. Thus, Reconstruction

  era laws did not represent a new constitutional principle different than the common

  law restrictions that existed for centuries, but an application of the same legal

  principles to new circumstances brought about by changes in firearms technology,

  consumer behavior, and the demographic changes associated with greater

  urbanization. The principle justifying such a decision, excluding arms from

  sensitive places such as fair and markets, was ancient and informed Founding era

  laws as well as those enacted in the era of the Fourteenth Amendment.

        47.       One of the most comprehensive statutes enacted during the era of

  the Fourteenth Amendment was adopted in Texas. The law prohibited firearms in a

  variety of public venues, building on a tradition that had existed for centuries.

                  Section 1: If any person shall go into any church or
              religious assembly, any school-room or other place
              where persons assembled for educational, literary, or
              scientific purposes, or into a ball room, social party,
              or other social gathering, composed of ladies and
              gentle- men, or to any election precinct on the day or
              days of any election, where any portion of the people of
              this state are collected to vote at any election, or to any
              other place where people may be assembled to muster or
              to perform any other public duty, or any other public
              assembly, and shall have about his person a bowie-
              knife, dirk, or butcher-knife, or firearms, whether
              known as a six-shooter, gun, or pistol of any kind, such
              persons so offending shall be deemed guilty of a
              misdemeanor, and on conviction thereof shall be fined


                                            33
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              in a sum not less than fifty or more than five hundred
              dollars, at the discretion of the court or jury trying the
              same: Provided, That nothing contained in this
              section shall apply to locations subject to Indian
              depredations: And provided further, That this act
              shall not apply to any person or persons whose duty it
              is to bear arms on such occasions in discharge of
              duties imposed by law. 69

        48.    Texas not only adopted a broad range of modern style gun regulations,

  including this law, but further noted that the state’s highest court recognized that

  such an exercise of the police power was entirely constitutional. The Texas regime

  was not an outlier, but was consistent with the dominant conception of the right to

  bear arms in both the Founding era and the period of Fourteenth Amendment.

  What distinguished Texas from other states was not its robust use of the police

  power, but the level of gun violence that precipitated the need for such

  regulations. 70 The first state constitutions enacted after the American Revolution



   2 GEORGE WASHINGTON PASCHAL, A DIGEST OF THE LAWS OF TEXAS:
  69

  CONTAINING LAWS IN FORCE, AND THE REPEALED LAWS ON WHICH RIGHTS REST.
  CAREFULLY ANNOTATED. 1322 (3d ed. 1873).
  70
    Justice Thomas dismissed the probative value of any evidence from
  Reconstruction-era Texas as an outlier. But subsequent historical research has
  demonstrated that Texas was well within the constitutional mainstream of post-
  Civil War America. See Brennan Gardner Rivas, Enforcement of Public Carry
  Restrictions: Texas as a Case Study 55 U.C. DAVIS L. REV. 2603 (2022). The
  important evidence presented in this article only appeared after Bruen was argued.
  Rivas has demonstrated that Republicans enacted tough gun laws that were
  enforced in a racially neutral fashion until the Jim Crow era reversed the gains
  achieved during Reconstruction. For additional support for Rivas’ conclusions, see

                                            34
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  typically separated the right of the people to regulate their internal police from

  specific statements about the right to bear arms. 71 The Founding era formulation of

  the right to bear arms was distinct from the right of the people to regulate their

  internal police. The new state constitutions adopted during Reconstruction omit

  references to the dangers of standing armies and the need for civilian control of the

  military. In place of these textual references, state constitutions fused the right to

  regulate arms and the right to bear them into a single constitutional principle. 72

           49.   The new textual formulation of the right to keep and bear arms did not

  alter the constitutional principles framing firearms regulation; these remained

  unchanged. What had changed was that a new set of circumstances had created an

  unprecedented set of public safety concerns for states. The new danger Americans

  faced during and after Reconstruction was the proliferation of firearms and more

  aggressive cultural norms about carrying them in public, particularly in urban

  areas.73




  Saul Cornell, The Long Arc of Arms Regulation in Public: From Surety to
  Permitting, 1328-1928, 55 U.C. DAVIS L. REV. 2545 (2022).
  71
       Cornell, supra note 53.
  72
       See, e.g., UTAH CONST. OF 1896, art. I, § 6.
  73
       RANDOLPH ROTH, AMERICAN HOMICIDE 56, 315 (2009).


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        50.    The debates in the Texas constitutional convention during

  Reconstruction illustrate how changed practices led to new regulations. There is no

  evidence that anyone attending the state ratification conventions in the Founding

  era traveled to these gatherings armed. By contrast there was a palpable fear of gun

  violence among the delegates who participated in the Reconstruction era Texas

  state constitutional convention. In fact, this fear was so great that the convention

  passed a resolution prohibiting weapons in the convention hall. “[T]he convention

  do order that no person shall hereafter be allowed in this hall, who carries belted on

  his person, revolvers or other offensive weapons.”74 Another delegate reminded the

  convention’s members that the constitutional right to bear arms ought not be

  confused with the pernicious practice of habitually arming. The right, he cautioned,

  ought not “be construed as giving any countenance to the evil practice of carrying

  private or concealed weapons about the person.”75 Although the level of gun

  violence in Texas was especially grave, other states and the western territories were

  all dealing with problems posed by the proliferation of handguns. As a result of this




  74
    1 CONSTITUTIONAL CONVENTION, JOURNAL OF THE RECONSTRUCTION
  CONVENTION, WHICH MET AT AUSTIN, TEXAS, JUNE 1,1868, at 248 (Tracy,
  Siemering & Co. 1870).
  75
    Id. at 152; see generally Mark Anthony Frassetto, The Law and Politics of
  Firearms Regulation in Reconstruction Texas, 4 TEX. A&M L. REV. 95 (2016).


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  broad societal trend, firearms regulation increased dramatically during the era of

  the 14th Amendment across the nation. 76


                                     Table One
                         Post-Civil War State Constitutional
                       Arms Bearing Provisions about Regulation
   Date State             Provision
   1868 Georgia           GA. CONST. OF 1868, art. I, § 14: [T]he right of the people
                          to keep and bear arms shall not be infringed, but the
                          General Assembly shall have power to prescribe by law
                          the manner in which arms may be borne.
   1868 W. Texas          W. TEX. CONST. OF 1868, Art. I, § 13: Every person shall
                          have the right to keep and bear arms, in the lawful defence
                          of himself or the government, under such regulations as
                          the Legislature may prescribe.
   1869 Texas             TEX. CONST. OF 1869, art. I § 13: Every person shall have
                          the right to keep and bear arms, in the lawful defense of
                          himself or the State, under such regulations as the
                          Legislature may prescribe.
   1870 Tennessee         TENN. CONST. OF 1870, art. I, § 26: That the citizens of
                          this State have a right to keep and to bear arms for their
                          common defense. But the Legislature shall have power, by
                          law, to regulate the wearing of arms with a view to prevent
                          crime.
   1875 Missouri          MO. CONST. OF 1875, art. II, § 17: That the right of no
                          citizen to keep and bear arms in defense of his home,
                          person and property, or in aid of the civil power, when
                          thereto legally summoned, shall be called in question; but
                          nothing herein contained is intended to justify the practice
                          of wearing concealed weapons.
   1875 North             N.C. CONST. OF 1875, art. I, § 24. A well regulated militia
        Carolina          being necessary to the security of a free State, the right of
                          the people to keep and bear arms shall not be infringed;
                          and as standing armies in time of peace, are dangerous to
                          liberty, they ought not to be kept up, and the military

  76
       Spitzer, supra note 31.

                                             37
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                     should be kept under strict subordination to, and governed
                     by, the civil power. Nothing herein contained shall justify
                     the practice of carrying concealed weapon, or prevent the
                     legislature from enacting penal statutes against said
                     practice.
   1876 Colorado     COLO. CONST. OF 1876, art. II, § 13: That the right of no
                     person to keep and bear arms in defense of his home,
                     person and property, or in aid of the civil power when
                     thereto legally summoned, shall be called in question; but
                     nothing herein contained shall be construed to justify the
                     practice of carrying concealed weapons.
   1876 Texas        TEX. CONST. OF 1876, art. I, § 23: Every citizen shall have
                     the right to keep and bear arms in the lawful defense of
                     himself or the State; but the Legislature shall have power
                     by law to regulate the wearing of arms with a view to
                     prevent crime.
   1877 Georgia      GA. CONST. OF 1877, art. I, § 22: The right of the people to
                     keep and bear arms shall not be infringed, but the General
                     Assembly shall have power to prescribe the manner in
                     which arms may be borne.
   1879 Louisiana    LA. CONST. OF 1879, art. III: A well regulated militia
                     being necessary to the security of a free State, the right of
                     the people to keep and bear arms shall not be abridged.
                     This shall not prevent the passage of laws to punish those
                     who carry weapons concealed.
   1885 Florida      FLA. CONST. OF 1885, art. I, § 20: The right of the people
                     to bear arms in defense of themselves and the lawful
                     authority of the State, shall not be infringed, but the
                     Legislature may prescribe the manner in which they may
                     be borne.
   1889 Idaho        IDAHO CONST. OF 1889, art. I, § 11: The people have the
                     right to bear arms for their security and defense: but the
                     legislature shall regulate the exercise of this right by law.
   1889 Montana      MONT. CONST. OF 1889, art. III, § 13: The right of any
                     person to keep or bear arms in defense of his own home,
                     person, and property, or in aid of the civil power when
                     thereto legally summoned, shall not be called in question,
                     but nothing herein contained shall be held to permit the
                     carrying of concealed weapons.


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   1890 Mississippi MISS. CONST. OF 1890, art. III, § 12: The right of every
                    citizen to keep and bear arms in defense of his home,
                    person or property, or in aid of the civil power when
                    thereto legally summoned, shall not be called in question,
                    but the legislature may regulate or forbid carrying
                    concealed weapons.
   1891 Kentucky KY. CONST. OF 1891, § 1(7): The right to bear arms in
                    defense of themselves and of the State, subject to the
                    power of the General Assembly to enact laws to prevent
                    persons from carrying concealed weapons.
   1896 Utah        UTAH CONST. OF 1896, art. I, § 6: The people have the
                    right to bear arms for their security and defense, but the
                    legislature may regulate the exercise of this right by law.

        51.    The new focus on regulation embodied in these revised state arms

  bearing provisions was not a departure from traditional views of the robust scope

  of police power authority to regulate arms in the interests of public safety. This

  power was ancient and widely acknowledged as fundamental to Anglo-American

  law. Nor did the adoption of the Fourteenth Amendment change this fact. The

  recasting of these state constitutional texts represented an important shift in

  emphasis and a change in constitutional style, not substance. 77

        52.    One of the motivating forces behind the push for the Fourteenth

  Amendment was the enactment of repressive black codes across the South, which

  often included restrictions on the right to keep and bear arms. Paramilitary violence


  77
    John Bingham, Speech, in CINCINNATI DAILY GAZETTE (Sept. 2, 1867), as
  quoted in Saul Cornell & Justin Florence, The Right to Bear Arms in the Era of the
  Fourteenth Amendment: Gun Rights or Gun Regulation? 50 SANTA CLARA L. REV.
  1043, 1058 (2010).


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  against free people of color and Republicans in the South was among the most

  pressing threats to Reconstruction.78 In response to the South Carolina Black

  Codes, Union General Daniel Sickles issued General Order No. 1. 79 Sickles not

  only affirmed a right to bear arms, but also reasserted the right to regulate arms,

  including bans on concealed carry. Crucially, Sickles restated the prevailing

  consensus that the right to bear arms did not sanction a right to travel armed onto

  private property. In Bruen, Justice Thomas singled out Sickles General Order No. 1

  as the quintessential embodiment of the meaning of the right to keep and bear

  arms, noting that Sickles’ views were consistent with both the ideals of 1791 and

  1868. 80 General Order No. 1 offers one of the clearest pieces of evidence that the

  Hawai‘i default rule about private property reflects a constitutional consensus

  deeply rooted in text, history, and tradition. Sickles’ language was unambiguous on

  this point: “[t]he constitutional rights of all loyal and well-disposed inhabitants to

  bear arms will not be infringed; nevertheless this shall not be construed to sanction




   ERIC FONER, THE SECOND FOUNDING: HOW THE CIVIL WAR AND
  78

  RECONSTRUCTION REMADE THE CONSTITUTION (2019).
  79
     See Darrell A. H. Miller, Peruta, The Home-Bound Second Amendment, and
  Fractal Originalism, 127 HARV. L. REV. F. 238, 241 (2014).
  80
     142 S. Ct. at 2152.


                                            40
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  the unlawful practice of carrying concealed weapons, nor to authorize any person

  to enter with arms on the premises of another against his consent.” 81

           53.   The author of Section One of the Fourteenth Amendment, John

  Bingham, reassured voters in Ohio that after the adoption of this Amendment,

  states would continue to bear the primary responsibility for “local administration

  and personal security.” 82 As long as state and local laws were racially neutral and

  favored no person over any other, the people themselves, acting through their

  representatives, were free to enact whatever reasonable measures were necessary to

  promote public safety and the common good. 83

           54.   It would be difficult to overstate the significance of the growing

  perception among legislative bodies across the nation that America needed to enact

  strong laws to deal with the increased threat gun violence posed in post-Civil War

  America. Indeed, the number of laws enacted skyrocketed, as did the number of

  states passing such laws. 84 States fulfilled their role as laboratories of democracy



  81
       A HANDBOOK OF POLITICS FOR 1868, at 36-38 (Edward McPherson ed., 1868).
  82
       Bingham, supra note 77.
  83
    For a discussion of how the courts wrestled with the meaning of the Fourteenth
  Amendment, see WILLIAM E. NELSON, THE FOURTEENTH AMENDMENT: FROM
  POLITICAL PRINCIPLE TO JUDICIAL DOCTRINE 148-51 (1998).
  84
       Spitzer, supra note 31.


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  by implementing a range of regulations aimed at curbing the problem of gun

  violence: limiting the sale of firearms, taxing particular types of weapons

  perceived to pose threats to public safety, imposing limits on the access of minors

  to weapons, and restricting the public places one might carry arms. 85 Texas banned

  “[a]ny person carrying on or about his person, saddle, or in his saddle-bags, any

  pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or

  any other kind of knife manufactured or sold for the purpose of offense or

  defense, unless he has reasonable grounds for fearing an unlawful attack on his

  person, and that such ground of attack shall be immediate and pressing.”86 The

  law aimed to preserve the peace and prevent the intimidation of free persons, the

  exact opposite of the claims of gun rights advocates who have insisted that gun

  control during Reconstruction was tainted by an insidious racist agenda. 87

             Parks




  85
       Id.
  86
    An Act to Regulate the Keeping and Bearing of Deadly Weapons, Apr. 12,
  1871, reprinted in PASCHAL, supra note 69.
  87
    Gun rights advocates have simply ignored the most recent scholarship on gun
  control and race relations during Reconstruction, including the new literature on
  gun regulation and enforcement. For more, see the discussion in Frassetto, supra
  note 75, at 102-04, and Rivas, supra note 70.


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         55.    There were no modern-style parks in the era of the Second

  Amendment. The oldest urban public space in America, the Boston Common, was

  used primarily as a pasture, a place of execution, and a site for the militia to muster

  and drill.88 Yet, even when used for militia purposes, these public spaces were

  tightly regulated. Colonial Massachusetts prohibited coming to muster with a

  loaded firearm. 89 The Boston Commons and other similar urban spaces in

  existence during the Founding era shared little with modern parks. There was little

  need in the sparsely settled colonies to set aside areas for preservation or recreation

  given that the population of the colonies was expanding rapidly and remained

  hemmed in by various Indian nations reluctant to cede any further territory to

  Europeans. Moreover, by the time of the adoption of the Second Amendment, the

  nation was still 90% rural, and the majority of the population was engaged in

  agricultural pursuits. 90


  88
    Steven R. Pendery, Probing the Boston Common, 43 ARCHAEOLOGY 42-47 (1990);
  SUZANNE SCHELD ET AL., RETHINKING URBAN PARKS: PUBLIC SPACE AND
  CULTURAL DIVERSITY 19-20 (2009); MICHAEL RAWSON, EDEN ON THE CHARLES:
  THE MAKING OF BOSTON 73 (2014).
  89
    RECORDS OF THE GOVERNOR AND COMPANY OF THE MASSACHUSETTS BAY IN
  NEW ENGLAND 98 (1853); 1866 Mass. Acts 197, An Act Concerning the Militia,
  § 120. The prohibition on bringing a loaded gun to muster stretches from 1632 to
  1866 making it one of the longest standing regulations on firearms in the early
  Republic.

   FORREST MCDONALD, E PLURIBUS UNUM: THE FORMATION OF THE AMERICAN
  90

  REPUBLIC, 1776-1790, at 72 (1965); Peter C. Mancall, Economic History of the

                                            43
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        56.    The creation of parks as we now know them began in the middle of

  the nineteenth century and was influenced by the slow impact of romanticism and

  the Transcendentalist ideas of visionaries such as Henry David Thoreau. The new

  idea of parks as places of relaxation, repose, and recreation gradually inspired a

  new attitude toward nature and public spaces. This new vision inspired urban

  planners, landscape architects, and government officials to embark upon an

  ambitious series of new parks. By the middle of the century these new public

  spaces, best exemplified by New York’s Central Park, had become places of refuge

  from the congestion, grime, and stresses of city life. The creation of large urban

  public parks in the 1850s posed new challenges for those eager to preserve the

  peace and public safety: among the pressing issues was the regulation of

  firearms. 91 The expansion of urban parks, the creation of new state parks, and

  eventually the involvement of the federal government in land preservation

  intensified in the post-Civil War period.




  United States: Precolonial and Colonial Periods, in OXFORD RESEARCH
  ENCYCLOPEDIA OF ECONOMICS AND FINANCE (2021),
  https://oxfordre.com/economics/view/10.1093/acrefore/9780190625979.001.0001/
  acrefore-9780190625979-e-480.

   GALEN CRANZ, THE POLITICS OF PARK DESIGN: A HISTORY OF URBAN PARKS IN
  91

  AMERICA 19 (1989).


                                              44
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           57.   From the outset modern parks banned firearms. Millions of

  Americans, including the entire population of the nation’s five largest cities, lived

  under a firearms regulatory regime that prohibited firearms in parks. During the era

  of the Fourteenth Amendment, there was little disagreement that state and local

  governments had the authority under the police power to regulate and prohibit guns

  in parks.

                                       Table Two
       Post-Civil War Limits on Public Carry in the Nation’s Five Largest Cities
   Rank City            Population   Date of Law               Gun Prohibition in
                        (1900)92                               Parks
   1        N.Y.        3,437,202    1861                      X
   2        Chicago     1,698,575    1881                      X
   3        Phila.      1,293,697    1869                      X
   4        St. Louis   575,238      1883                      X
   5        Boston      560,892      1886                      X


  Nor were such bans limited to the nation’s largest municipalities. 93 For example,

  during this period, San Francisco enacted an ordinance prohibiting guns in its



  92
       1 U.S. CENSUS OFF., CENSUS REPORTS 1xix tbl. XXII (1901).
  93
    A Digest of the Laws and Ordinances of the City of Philadelphia from the Year
  1701 to the 21 Day of June, 1887, at 513 (1887); The Revised Municipal Code of
  Ohio 196 (1899); Report of the Board of Park Commissioners of the City of
  Rochester, N.Y., 1888 to 1898, at 98 (1898); The Municipal Code of the City of
  Spokane, Washington: Comprising the Ordinances of the City ... Revised to
  October 22, 1896, at 316 (1896); Annual Report of the Park Commissioners of the
  City of Lynn for the Year Ending December 20, 1892, at 45 (1893); Charter and
  Ordinances of the City of New Haven: Together with Legislative Acts Affecting

                                            45
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  parks, as did the cities of Boulder and St. Paul. 94 Statutes prohibiting possession of

  arms in these important public spaces were enacted in major urban areas of every

  region of the nation. As Table Two vividly illustrates, limits on arms in public

  parks were the norm in America in the era of the Fourteenth Amendment.

        58.    There was a close connection between the urban park movement and

  the rise of state parks. The primary architect behind New York’s Central Park,

  Frederick Olmsted, also took a leading role in the creation of California’s

  Yosemite State Park in the 1860s. Although Congress ceded the land to the state,

  the expense and difficulty of managing it led to the state returning control of the

  park to the federal government several decades later. 95 The federal government’s

  decision to create Yellowstone in 1872 added yet another type of park to

  America’s roster of public spaces.



  Said City 293 (1898); A Digest of the Acts of Assembly Relating to and the
  General Ordinances of the City of Pittsburgh 496 (1897); The Revised Ordinances
  of the City of Danville (1883); Law and Ordinances governing the Village of Hyde
  Park (1875); The Municipal Code of Chicago 391 (1881).
  94
    San Francisco Municipal Reports 499 (1874); Ordinances of the City of Boulder
  157 (1899); Proceedings of the Common Council of the City of Saint Paul 133
  (1892).
  95
    NEY C. LANDRUM, THE STATE MOVEMENT IN AMERICA: A CRITICAL REVIEW
  (2013). On the creation of Yellowstone, see
  https://www.loc.gov/collections/national-parks-maps/articles-and-
  essays/yellowstone-the-first-national-park/


                                            46
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        59.    The federal government also passed laws limiting firearms in its

  parks. Such regulations are especially important because federal lands were

  indisputably governed by the Second Amendment, irrespective of the incorporation

  doctrine. 96 The Secretary of the Interior underscored the danger posed by firearms

  in parks when he wrote this about Yellowstone: “Absolute prohibition of firearms

  in the park is recommended.”97 Accordingly, the federal government prohibited

  guns in the park.98

        60.    The federal government also prohibited firearms in numerous other

  national parks in the early twentieth century, prior to the adoption of nationwide

  federal regulations in June 1936. 99 For example, in Hawai‘i National Park—which

  at the time operated as a single park encompassing Haleakalā on Maui as well as

  Mauna Loa and Kīlauea on the Big Island—the federal government made clear that


  96
    REPORT OF THE DEPARTMENT OF THE INTERIOR . . . [WITH ACCOMPANYING
  DOCUMENTS] 499 (1899); REPORT OF THE SECRETARY OF THE INTERIOR FOR THE
  FISCAL YEAR 125 (1900).
  97
    THE ABRIDGMENT: CONTAINING MESSAGES OF THE PRESIDENT OF THE UNITED
  STATES TO THE TWO HOUSES OF CONGRESS WITH REPORTS OF DEPARTMENTS AND
  SELECTIONS FROM ACCOMPANYING PAPERS 618 (1893).
  98
    ANNUAL REPORT OF THE SUPERINTENDENT OF THE YELLOWSTONE NATIONAL
  PARK TO THE SECRETARY OF THE INTERIOR .... UNITED STATES: U.S. GOVERNMENT
  PRINTING OFFICE 19 (1898).
  99
    FIREARMS REGULATION IN THE NATIONAL PARKS, 1897-1936 (2008),
  http://npshistory.com/publications/ranger/np-firearms-regs-history.pdf.


                                           47
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  “[f]irearms are prohibited in the park except on written permission of the

  superintendent.”100

        61.    The emergence of modern style parks in the middle of the nineteenth

  century was a response to profound changes in American society, particularly

  urbanization. These places of repose and recreation were designed to offer

  Americans places to escape the increasingly chaotic world they encountered in the

  expanding cities of the nineteenth century. From the outset, the regulations

  governing these spaces prohibited firearms. State parks were motivated by similar

  impulses. Indeed, Frederick Olmsted, one of the leading landscape architects of the

  period also took a prominent role in helping to create these important public

  spaces. When the federal government organized its first national parks, it also

  tightly regulated the carriage of arms in public lands. Given that arms have been

  tightly regulated, and in many instances prohibited in parks since their creation,

  Hawai‘i’s statute limiting guns in parks is well within the long history of firearms

  regulation in America.



  100
     UNITED STATES DEPARTMENT OF THE INTERIOR, NATIONAL PARK SERVICE,
  RULES AND REGULATIONS: HAWAII NATIONAL PARK 14 (1927)
  http://npshistory.com/brochures/havo/1927.pdf (“Firearms are prohibited in the
  park except on written permission of the superintendent, who also has authority to
  waive inquiry as to the possession of firearms by visitors traveling through the park
  to places beyond.”). Hawai‘i National Park was created in 1916. See generally
  National Park Service, Federal Laws Specific to Hawai‘i Volcanoes National Park,
  https://www.nps.gov/havo/learn/management/mgmtdocs_fedlaws.htm.

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        IV. CONCLUSION
        62.    The Hawai‘i law at issue in this case is analogous to a long-

  established tradition of firearms regulation in America, beginning in the colonial

  period and stretching across time to the present. This venerable tradition of using

  police power authority to craft specific laws to meet shifting challenges has

  continued to the present day. The adaptability of state and local police power

  provided the flexibility governments needed to deal with the problems created by

  changes in firearms technology and gun culture.




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        I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct. See 28 U.S.C. 1746.


        Executed on July 13, 2023 at Redding, CT.

                                               Saul Cornell
                                                Saul Cornell




                                          50
